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 LTNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                           X
 In re:
                                                                 Chapter   11
 WONDERWORK, INC.,                                               Case   No. 16-13607 (SMB)

                                         Debtor                  COMPLAINT

                                                                 Adv. No.
 VINCENT A. SAMA, as Litigation Trustee of the
 WW LITIGATION TRUST,
                                                                 Jurv Trial Demanded
                                        Plaintiff,
           -against

 KPMG LLP,

                                       Defendant.
                                                           X

               Plaintift Vincent A.   Sama, as   Litigation Trustee of the WW Litigation Trust (the

"Litigation Trustee"), as and for his Complaint (the "Complaint") against defendant, KPMG

LLP, by his attomeys Kaplan Landau PLLC, alleges as follows:

                                       Nature of the Action

               1.      This is an action for negligence, gross negligence, fraud, and breach of

contract by Plaintiff Litigation Trustee against Defendant KPMG LLP ("KPMG"). The claims

arise from KPMG's audits of the financial statements of WonderWork, Inc. ("WonderWork" or

"Debtor") and the related statements of activities, functional expenses, and cash flows for the

years ended June 30,2012 through 2015 as well as the related notes to the financial statements

(the "Financial Statements"), and KPMG's issuance of unqualified audit reports dated April 13,

 2073, February 20,2014,May 7,2015, and May 23,2016 (the "Audit Reports") with respect to

the Financial Statements.
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               2.       In the Audit Reports, KPMG falsely stated that the Financial Statements

fairly represented, in all material respects, the financial position of WonderWork as of June 30,

2012, June 30, 2013 and June 30, 2012, June 30, 2014 and June 30, 2013, and June 30,2015

and June 30,2014 and changes in its net assets and cash   flow for the years then ended in

accordance with standards generally accepted in the United States ("GAAP"), and that KPMG

had audited the Financial Statements in accordance with generally accepted auditing standards

("GAAS"). Contrary to KPMG's       statements, the Financial Statements did not accurately reflect

the financial position of WonderWork, the changes in its net assets, and its cash flows for the

years then ended and, therefore, were not stated in accordance with GAAP, and KPMG had not

audited the Financial Statements in accordance with GAAS. In fact, KPMG either knew or

ignored and tumed a blind eye to explicit fraud warnings obvious on the face of WonderWork's

books and records, with the result that both the Financial Statements and Audit Reports were

false and misleading.

               3.       WonderWork justifiably relied upon KPMG to audit the Financial

Statements to ensure that, expenses, including executive compensation, were correctly recorded

and accounted for, that proper internal accounting controls were in place, and that charitable

donations were correctly characterized as "restricted" or "not restricted", and to alert the Debtor

to any material deficiencies and misstatements in connection with its Financial Statements,

business and financial position.

               4.       KPMG knew that WonderWork Chief Executive Officer Brian

Mullaney's ("Mullaney") compensation was not correctly recorded and accounted for, that

Mullaney had in fact taken compensation in the form of personal expenses, that internal

accounting controls were not in place, and were routinely circumvented by Mullaney and by the



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Chief Financial Officer Hana Fuchs ("Fuchs"), at his direction, and knew or should have

known, that charitable donations were not properly accounted for or categorized.

                 5.          KPMG also knew that in operating without internal accounting controls,

without accurately accounting for Mullaney's compensation, and in failing to properly classify

donations, Mullaney and Fuchs, and others acting in concert with them, had abandoned their

obligations to WonderWork, and acted solely in their own interests and not in the interests of

WonderWork, damaging WonderWork and its charitable mission.

                          The Parties And Other Sisnificant Persons Or Entities

                 6.          Plaintiff Vincent A. Sama, is the Litigation Trustee of the WW Litigation

Trust (the "Litigation Trustee") with his principal place of business at Arnold & Porter Kaye

Scholer LLP,250 West 55th Street, New York, New York 10019-9710.

                 7.         Defendant KPMG LLP is a Delaware limited liability partnership with its

principal place of business at345 Park Avenue, New York, New York 10154-0120.

                 8.         WonderWork, Inc.is    a   not for profit organization organized and existing

under the laws of the State of Delaware.

                 9.         Brian Mullaney was at all relevant times the Chief Executive Officer

("CEO") of the Debtor.

                 10.        Hana Fuchs was at all relevant times the Chief Financial Officer ("CFO")

of the Debtor.

                 1   1.     At all relevant times, WonderWork's Board of Directors consisted of

Mullaney, and three independent directors, Ted Dysart, Ravi Kant and John J. Coneys, until

November 2015, when Dysart resigned.




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                                        Jurisdiction and Venue

                    12.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. $ $ 157

and 1334 and the Standing Order of Reference.

                    13.   Venue is proper in this district pursuant to 28 U.S.C. $$ 1408 and 1409.

                    14.   This adversary proceeding is a core proceeding pursuant to 28 U.S.C.     $


157(bX2)(A), (E) and (o).

                    15.   Pursuant to Section 12.1 of the Amended Chapter 11 Plan dated August

8, 2018, the Bankruptcy Court retained exclusive jurisdiction, to hear and determine any actions

commenced by the Litigation Trustee.

                    16.   In the event that any part of this adversary proceeding is found to be

"non-core", Plaintiff consents to the entry of final orders and judgments by this Court, pursuant

to Rule 7008 of the Federal Rules of Bankruptcy Procedure.

                                          Procedural Historv

                    17.   On December 29,2016, the Debtor filed a voluntary petition for relief

under Chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

Southern District of New York.

                    18.   On April 21,2017, the Bankruptcy Court entered an Order Directing the

Appointment of an Examiner and Establishing Temporary Bankruptcy Controls (which order

was subsequently amended).

                    19.   On May I0,2017, the Bankruptcy Court entered an Order approving

Jason R.   Lilien   as Examiner (hereinafter the   "Examiner"). The Examiner was appointed to

investigate, among other things, the propriety of the Debtor's operations, Mullaney's




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compensation, the actual amount of "unrestricted" funds held by the Debtor which could not be

used to satisfy creditor claims, and potential estate causes of action.

                 20.      On June 28,2017, the Court approved the Examiner's retention of Loeb

& Loeb LLP ("Loeb")       as counsel and on July 6, 2017, the Court approved the Examiner's

retention of Goldin Associates LLC ("Goldin") as his financial advisor.

                 21.      After KPMG resigned as WonderWork's auditor in20l7,for

"undisclosed reasons", on May 24,2017, the Bankruptcy Court approved the Debtor's retention

of BDO USA LLP ("BDO") to audit the Debtor's Financial Statements as of June 30,2016 and

to prepare its Form 990.

                 22.      On or about November 3,2017, the Examiner filed his Final Report dated

October 25,2017.

                 23   .   On November 22, 2017 , shortly after the Examiner's Final Report was

filed, the Bankruptcy Court appointed Stephen Gray as Chapter I I Trustee.

                 24.      On September 21,2018, the Bankruptcy Court entered an order (the

ooConfirmation
                 Order") confirming an Amended Chapter 11 Plan of Liquidation of

WonderWork, Inc. (as it may be modified and together with the Plan Supplement filed on

August 8,2018, the plan (the "Plan")). The Plan became effective on October 19,2018.

                 25.      The Plan and Confirmation Order provided for the creation of a

Litigation Trust and appointment of a Litigation Trustee.

                 26.      On or about October 19,2018 the WW Litigation Trust was created

pursuant to the terms of the WonderWork Litigation Trust and Declaration of Trust dated

October 19,2018.




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                 27.    The WW Litigation Trust was created for the pu{pose, among other

things, of prosecuting the Litigation Trust Claims and to file, settle, compromise, withdraw or

litigate to judgment any cause of action in connection with such claims.

                 28.    In accordance with the Plan, Vincent A. Sama, Esq. was appointed

Litigation Trustee as of October 19,2018.

                29.     Among the claims assigned to the WW Litigation Trust were any and all

claims against Debtor's current and former professionals, including those asserted herein

against KPMG for negligence, gross negligence, fraud and breach of contract.

                                       Factual Background

                30.     WonderWork's stated purpose was to provide assistance to children and

adults everywhere, including those in developing countries, suffering from disease, illness, or

disability, including but not necessarily limited to blindness, clubfoot, hydrocephalus, pediatric

cardiac surgery, and burns and to further support medical institutions and other charitable

organizations engaged in the provision of the services supported by the Debtor.

                31.     KPMG audited the financial statements of WonderWork and the related

statements of activities, functional expenses, and cash flows for the years ended June 30, 2012,

June 30, 2013 and June 30, 2012, June 30, 2014 and June 30, 2013, and June 30,2015 and June

30,2014.

                32.     In connection with those audits, KPMG issued unqualified Audit Reports

dated   April 13,2013, February 20,20I4,May 7,2015,      and May   23,20l6,which falsely    stated

that KPMG had conducted its audits in accordance with GAAS and that the Financial

Statements   fairly represented in all material respects, the financial position of WonderWork.




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 KPMG also prepared and filed Internal Revenue Service Forms 990 for the Debtor for each of

the years in question based upon information which was the subject of the KPMG Audits.

                33.     The Debtor relied on KPMG's unqualified Audit Reports with respect to

the Financial Statements for each of the years ended June 30, 2012 through June 30, 2015, and

the Forms 990 prepared by KPMG, in approving executive compensation, making regulatory

and IRS filings, and in managing the Debtor and continuing its operations.

                34.     Undisclosed in the Financial Statements and the Audit Reports, were the

material deficiencies in internal controls within WonderWork and that the Financial Statements

did not accurately set forth WonderWork's hnancial position, changes in net assets, or cash

flows. KPMG also failed to report that WonderWork's          Forms 990 understated executive

compensation, that personal, excessivs and unsubstantiated expenses had been charged by the

CEO to the Debtor, and.that the Debtor's CEO and CFO had totally abandoned WonderWork's

interests, and were acting solely for their own interests, and those of other highly compensated

executives.

               35.      The actions and omissions of the CEO, CFO and others acting in concert

with them, which were known to or should have been known to KPMG, but were not disclosed

in the Audit Reports, provided no short term or long-term benefits to the Debtor, but in fact

harmed the Debtor, deprived it of funds that should have been used for Debtor's charitable

purposes, deprived   it of the ability to carry out its mission and saddled it with litigation

expenses, and potential regulatory proceedings and fines and penalties and forced it to cease

business as a not-for-profit charitable organization.




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               36.     KPMG utterly failed to perform its audit responsibilities in accordance

with the applicable professional standards of conduct, including GAAS, and failed to report the

acts and omissions by WonderWork's senior officers      in its unqualified Audit Reports, Forms

990, which it prepared, or otherwise, which resulted in the demise of WonderWork.

               37.     During the 4 years that it audited WonderWork's Financial Statements,

and issued, prepared and filed false Forms 990, and false and misleading Audit Reports, KPMG

received compensation of over $220,000, none of which has been retumed or recovered.

                 Material Weaknesses in W            erWork's Internal Controls

               38.     Material weakness in internal controls means that a deficiency or

combination of deficiencies exist such that there is a reasonable possibility that amaterial

misstatement of the non-profit's financial statements will not be prevented, or detected or

corrected on a timely basis. In this case, there were material weaknesses in WonderWork's

internal controls such that KPMG knew or should have known during the course of its Audits

that WonderWork's Financial Statements and its Forms 990 were materially false.

               39.     These material weaknesses, which were never reported by KPMG in its

Audit Reports or otherwise, but were identified by BDO, after its retention   as replacement   for

KPMG, included deficiencies in how executive compensation was recorded and accounted for

and how donations were classified and used.

               40.     These were precisely the types of internal control matters that KPMG

should have brought to the attention of the WonderWork's Board of Directors. These material

weaknesses, at a minimum, constituted red flag warnings to KPMG, which completely ignored

them, made the WonderWork's Financial Statements unreliable, and the Audit Reports and

Form 990s, false and misleading.



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                            The Mullaney Compensation Fraud

               41.      Among the items in the "Statement of Activities", which are part of the

Financial Statements, which were audited by KPMG were o'Expenses", "Management and

general", including executive compensation paid to Mullaney which was also falsely reported

on the Form 990s prepared by KPMG.

               42.      Mullaney's annual base salary was initially $275,000. However, in

January 2012, Mullaney instructed Fuchs to increase his pay to $295,000. Thereafter, in June,

2012, the WonderWork Board raised Mullaney's base pay to $475,000, but again without

authority, he instructed Fuchs to make the increase retroactive to January 30,2012.

               43.      The compensation paid to Mullaney from June 30,2012 through June 30,

2015, was not recorded in WonderWork's general ledger system and in fact was part of a

scheme that defrauded the Debtor.

               44.      Mullaney's "approved" compensation for most of that time period was

supposed to be $3.7   million ($2.75 million in salary and $950 thousand in bonuses), but of that

amount only $2.65 million was reported on the CEO's form W-2 for the years June 30,2012

through June 30, 2015. The Form 990s, prepared by KPMG, similarly, falsely reported

Mullaney's compensation as $475,000 per year.

               45.      The remaining $1.050 million in compensation was not recorded in

WonderWork's general ledger system, but was maintained by Fuchs on an Excel Spreadsheet

outside the general ledger system, at Mullaney's direction.

               46.      KPMG knew that Mullaney's compensation was recorded on the separate

Excel Spreadsheet and not in the general ledger, which was another red flag fraud warning.




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                 47.    Of the $1.050 million not recorded on the general ledger, $250,000

related to a bonus for fiscal year 2016. The remainder of the $1.050 million of unrecorded

impacted the years June 30, 2012through June 30,2015.

                 48.    The CFO, Hana Fuchs, admitted to the successor auditor, BDO, that

Mullaney, would arbitrarily determine certain travel and other expenses, supposedly incurred

for business purposes, and then direct her to randomly deduct those amounts from his "bonus",

so that this compensation would   not appear on his W-2. The "bonus" amount less than the

"deductions" would then be "donated" to WonderWork by Mullaney. These "payments" and

o'deductions"
                were maintained by Fuchs in the Excel Spreadsheet outside the general ledger

system.

                 49.    In fact, many of the business "expenses" that were deducted from

amounts supposedly due Mullaney, were not legitimate business expenses, but were personal

expenses Mullaney had incurred. Among these'oexpenses" during the years ended June 30,

2012through June 30,2015 identified by the Examiner were the following:

                    commuting expenses from Boston to New York, including stays
                    at the Hotel Langham and meals. These expenses totaled over
                    $117,000.

                    other travel expenses, including airfares, lodging and meals,
                    totaling $293,000.

                    other personal expenses in an amount believed to be in excess   of
                    $55,000, included vacation trips to Martha's Vineyard,
                    Massachusetts, Newport, Rhode Island, and Maine; costs of a
                    "writer" to accompany Mullaney to India to assist him in writing
                    a book; Harvard Club dues; various subscriptions; dinners for
                    friends; excessive staff holiday party and chauffeured cars
                    including a limousine for his wife's birthday.




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                50.    In addition to the personal and other expenses which Mullaney had

Fuchs's credit to his "compensation" account, Mullaney also received reimbursement for

business expenses that were not treated as compensation, but were excessive or undocumented.

                51.    Thus, according to the Examiner, Mullaney not only defrauded the

Debtor out of money to which he was not entitled, but avoided taxes on other income.

                52.    The impact of this scheme was that   (l)   Mullaney was paid excessive

compensation; (2) Mullaney was reimbursed for personal expenses; (3) Mullaney was

reimbursed for excessive and unsubstantiated business expenses; (4) expenses of the Debtor

were underreported by at least $800,000; and (5) the Debtor is subject to potential liability for

payroll taxes, penalties and interest on the unrecorded compensation.

                53.    The Debtor received no benefit, short term, long term, or otherwise, as

the result of the compensation scheme which was in fact a fraud on the Debtor.

                54.    Mullaney benefitted from the compensation fraud to the detriment of the

Debtor. Mullaney received compensation to which he was not entitled and avoided taxes on

other income, in an amount to be determined but believed to be not less than $1.2 million.

               55.     Defendant KPMG knew that the CEO compensation was not recorded on

the general ledger and knew that such compensation and purported "expenses" were recorded in

a separate Excel Spreadsheet, which constituted a red flag fraud warning which KPMG ignored.

                56.    KPMG knew or should have known the "expenses" were not legitimate

WonderWork business expenses and that, Mullaney was evading taxes on his compensation by

"deducting" the expenses from his "bonus", artd then o'donating" the remainder of the "bonus"

to the Debtor, all to the detriment of the Debtor.




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                 Improper Recording. Classification. And Accounting Of Donations

                   57.    Separate General Ledger Accounts were used by WonderWork's senior

officers to record unrestricted and temporarily restricted contributions from third party donors.

Restricted donations could only be used for designated pulposes; unrestricted donations could

be used for more general purposes of the charity.

                   58.   General Ledger Account No. 4000 was used to record unrestricted

contributions, and General Ledger Account Nos. 4005, 4010, 4020 and 4030 were used to

record temporarily restricted contributions.

                   59.   Subsequent testing of restricted and unrestricted donations by BDO

identified $1.046 million improperly recorded as unrestricted which should have been recorded

as restricted.


                   60.   The Examiner, who attempted to reconstruct the WonderWork entire

fundraising activity because of the unreliability of the Debtor's books and records, which was

never reported by KPMG, found that there were over 600 separate solicitations, hundreds         of

thousands of donations, and millions of dollars misapplied and mishandled funds. The

Examiner concluded that almost $3 million of contributions originally reported as unrestricted

should be classified as restricted, and of $20.2 million held by the Debtor as of the Petition Date

$16.25 million should be treated as restricted. KPMG's failure to provide guidance and

accurate advice on these technical accounting matters harmed the Debtor by diverting

contributions from their intended uses, rendered the Debtor insolvent, and made it impossible

for the Debtor to continue its operations. As alleged herein, and detailed in his report, the

Examiner found, among other things, that:

                      the offrcers acted for their own benefit and took excessive
                      compensation and benefits;


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                    reporting obligations were not met and that there were false and
                    misleading statements in Debtor's public filings; and

                    restricted assets were not applied in accordance with their
                    intended purpose and the restricted funds accounts were not
                    accurately maintained.

                61.     In addition to the foregoing, upon discovery that CEO compensation was

not recorded in the WonderWork general ledger, BDO undertook to determine if all other

material liabilities has been properly recorded in the general ledger, and requested a complete

list of the pre-petition claims filed by WonderWork. BDO, however, was unable to make any

such determination.

                62.     KPMG utterly failed to report any of these substantial and material errors,

and WonderWork was damaged by KPMG's failure to do so. Again, the Debtor received no

benefits from these deficiencies and KPMG's failure to identify, report and correct them.

                63.     KPMG billed WonderWork and WonderWork paid KPMG over

$220,000 in fees and expenses for its work. In addition, the Examiner has been awarded from

the Estate, $380,595.00; his financial advisor, Goldin, has been awarded $470,250, and his

counsel, Loeb, has been award $1,431,391 .27 , for work which included review     of
WonderWork's financial transactions, its executive compensation, and donations and other

related matters, which was necessary in order to address the issues which KPMG had failed to

report and resolve in its prior audits.

                64.     In addition, as a result of KPMG's precipitous resignation as auditor, in

an attempt to complete the 2016    Audit and related regulatory filings, WonderWork retained

BDO.   Because of the lack of internal controls at WonderWork and internal documentation,

which had not been reported or remedied on the prior KPMG audits, BDO expended substantial



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time and effort in attempting to reconstruct Debtor's books and records, but was still unable to

complete its Audit. BDO was awarded $210,000 by the Court for its work.

                 65.     Shortly after the Examiner issued his report, the Bankruptcy Court

appointed a Trustee for WonderWork (the "Chapter 11 Trustee") to oversee its winding-up and

liquidation. The Chapter       11 Trustee, has sought statutory commissions in the amount    of

$164,882.42 and$12,29I.90 in expenses for a total amount of $ll7,174.32; CP.3 Partners, LLC,

accountant for the Chapter I 1 Trustee, has sought $485,982.50 in fees and $6,011.80 in

expenses, for a total of $491,940.30; Garfunkel Wild, P.C. as, special counsel for the Chapter          l1

Trustee, has sought $295,261.50 in fees and $89.49 in expenses, for a total amount     of

$259,350.99; Gordon Brothers Asset Advisors, LLC, Intellectual Property Advisor for the

Chapter 1l Trustee, has sought fees in the amount of $30,000; Togut, Segal & Segal LLP,

Bankruptcy counsel for the Chapter 11 Trustee, has sought fees in the amount of $899,612.50

and expenses in the amount of $13,760.69 for a total of $913,317.19 and Verdolino       & Lowey

P.C., Special Accountant for the Chapter I 1 Trustee, has sought fees in the amount of       $   15,000.

                 66.     All of these expenditures, or a substantial portion of them, might      have

been unnecessary had KPMG properly performed their professional obligations during the

several years they audited WonderWork's Financial Statements.

                         AS AND FOR A FIRST CLAIM FOR RELIEF
                                      (Negligence)

                67.      Plaintiff Litigation Trustee repeats and realleges each and every

allegation of paragraphs   1   through 66 of this Complaint, inclusive, with the same force and

effect as if set forth herein at length.

                68.      Defendant KPMG issued unqualified Audit Reports dated April 13,2013,

February 20,2014,May 7,2015, and May 23,2016.


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                  69.    The Audit Reports stated that the Financial Statements of WonderWork

for the years ended June 30, 2012 through June 30,2015 fairly represented, in all material

respects, the financial position of WonderWork and the changes in net assets and its cash flows

for the years then ended.

                  70.    The Audit Reports were false and misleading in that the Financial

Statements did not fairly represent the financial position of WonderWork and the changes in net

assets and its cash   flows for the years ended June 30, 2012 tbrough June 30,2015.

                  7I.    In planning and performing the audits of WonderWork's Financial

Statements for the years ended June 30,2012 through June 30, 2015, KPMG had professional

duties of competence and skepticism under GAASand other standards applicable to Certified

Public Accountants and auditors.

                  72.    As detailed herein, KPMG's acts and omissions in connection with the

Audits fell below the applicable standard of care.

                  73.    WonderWork justifiably relied upon the unqualified KPMG Audit

Reports.

                  74.    As a result of the foregoing, Debtor was damaged in an amount to be

determined but believed not to be less than $3 million, together with interest, costs and

attorneys'fees.

                        AS AND FOR A SECOND CLAIM FOR RELIEF
                                    (Gross Negligence)

                  75.    Plaintiff Litigation Trustee repeats and realleges each and every

allegation of paragraphs 1 through 74 of this Complaint, inclusive, with the same force and

effect as if set forth herein at length.




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                 76.   Defendant KPMG issued unqualihed Audit Reports dated April 13, 2013,

February l4,20l4,May 7,2015 andMay 23,2016, with respect to the Financial Statements            of

WonderWork for the years ended June 30, 2012 through June 30,2015.

                 77.   The Audit Reports stated that the Financial Statements of WonderWork

for the years ended June 30, 2012tluough June 30,2015 fairly represented, in all material

respects, the financial position of WonderWork and the changes in net assets and its cash flows

for the years then ended.

                 78.   The Audit Reports were false and misleading in that the Financial

Statements did not fairly represent the financial position of WonderWork and the changes in net

assets and its cash flows for the years ended June 30,2012 through June 30, 2015.

                 79.   KPMG had red flag "fraud warnings," which were obvious from the

books and records maintained by WonderWork's senior management, that (a) internal

accounting controls were not in place and were routinely circumvented by Mullaney, and by

Fuchs at his direction; (b) Mullaney's compensation was excessive, included personal and

unsubstantiated expenses, and was not properly recorded or accounted for; (c) charitable

donations were not properly categorized or accounted for.

                 80.   KPMG was heedless and reckless when it disregarded, failed to

investigate and tumed a blind eye to these red flags which were obvious indications of fraud.

                 81.   Notwithstanding such red flag warnings, KPMG issued its unqualified

Audit Reports.

                 82.   Debtor   justifiably relied upon the unqualified KPMG Audit Reports.

                 83.   As a result of the foregoing, the Debtor was damaged in an amount to be

determined but believed to be not less than $3 million, together with interest, costs and



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attomeys'fees.

                 84.      Because of KPMG's     willful   and intentional disregard of Debtor's rights,

Plaintiff is also entitled to recover punitive damages in an amount to be determined but not less

than twice the amount of its compensatory damages.

                          AS AND FOR A THIRD CLAIM FOR RELIEF
                                                 (Fraud)

                 85.      Plaintiff Litigation Trustee repeats and realleges each and every allegation

of paragraphs   1   through 84 of this Complaint, inclusive, with the same force and effect as if set

forth herein at length.

                 86.      Defendant KPMG issued unqualified Audit Reports dated April 13,2013,

February 20, 201 4, May 7, 201 5, May 23, 2016.

                 87.      The Audit Reports stated that the Financial Statements of WonderWork

for the years ended June 30, 2012 tluough June 30,2015 fairly represented, in all material

respects, the financial position of WonderWork and the changes in net assets and its cash flows

for the years then ended.

                 88.      The Audit Reports were false and misleading in that the Financial

Statements did not fairly represent the financial position of WonderWork and the changes in net

assets and its cash   flows for the years ended June 30, 2012 through June 30,2015.

                 89.      KPMG knew that the Financial Statements were false and did not

accurately set forth financial condition of WonderWork because it knew that Mullaney's

compensation was not properly recorded or accounted for on the Debtor's general ledger but

was separately maintained by the CFO on an Excel Spreadsheet, knew that the o'expenses" were

charged against "bonuses" , and knew that Mullaney was avoiding taxes on his income, all to

the detriment   of   WonderWork, but nevertheless advised the Chair of WonderWork's Audit


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Committee to ignore these indicia of fraud.

                90.       KPMG also knew, among other things, of the material weaknesses in

WonderWork's internal accounting controls, and that donations were not accurately

categorized, that restricted assets were not applied in accordance with their intended purpose,

and restricted funds accounts were not accurately maintained.

                91.       KPMG knew and intended that WonderWork would rely on the Financial

Statements and Audit Reports.

                92.       WonderWork justifiably relied upon the unqualified KPMG Audit

Reports.

                93.       As a result of the foregoing, WonderWork was damaged in an amount to

be determined but believed to be not less than at least $3 million, together with interest, costs

and attorneys' fees.

                94.       Because of KPMG's     willful   and intentional disregard of Debtor's rights

and interests, Plaintiff is also entitled to recover punitive damages in an amount to be

determined but not less than twice the amount of its compensatory damages.

                         AS AND FOR A FOURTH CLAIM FOR RELIEF
                                    (Breach of Contract)

                95.       Plaintiff WonderWork repeats and realleges each and every allegation

of paragraphs   1   through 94 of this Complaint, inclusive, with the same force and effect as if set

forth herein at length.

                96.       Defendant KPMG issued unqualified Audit Reports dated April 13, 2013,

February 20, 2014, May 7, 2015, May 12, 2016.

                97.       The Audit Reports stated that the Financial Statements of WonderWork

for the years ended June 30, 2012through June 30,2015 fairly represented, in all material


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respects, the financial position of WonderWork and the changes in net assets and its cash flows

for the years then ended.

                  98.    The Audit Reports were false and misleading in that the Financial

Statements did not fairly represent the financial position of WonderWork and the changes in net

assets and its cash flows for the years ended June 30, 2012through June    30,2015.

                  99.    WonderWork engaged KPMG to audit its Financial Statements and to

protect its interests.

                  100. KPMG breached its agreement      with WonderWork by failing to perform

the audits in conformity with professional standards applicable to certified public accountants

and auditors and by failing to report to WonderWork the deficiencies in its internal accounting

controls and records, and by issuing false and misleading Audits Reports concerning

WonderWork in its Financial Statements

                  101.   KPMG billed WonderWork and WonderWork paid it for its work and

incurred substantial other costs and expenses, as alleged herein, as a result of KPMG's

substandard work and breach of its agreement.

                  102.   As a result of the foregoing, WonderWork was damaged an amount to be

determined but believed to be not less than $3 million, together with interest, costs, and

attorneys'fees.

                  WHEREFORE, Litigation Trustee demands judgment against the KPMG as

follows:

                  A.     With respect to the First Claim for Relief, judgment against KPMG and

in favor or the Litigation Trustee in an amount to be determined but believed to be not less than

$3 million, together with interest, costs and attomeys' fees.



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               B.      With respect to the Second Claim for Relief, judgment against KPMG

and in favor of the Litigation Trustee in an amount to be determined but believed to be not less

than $3 million, together with interest, costs and attomeys' fees and punitive damages in an

amount to be determined but not less than twice the amount of its compensatory damages;

               C.      With respect to the Third Claim for Relief, judgment against KPMG and

in favor of the Litigation Trustee in an amount to be determined but believed to be not less than

$3 million, together with interest, costs and attorneys' fees and punitive damages in an amount

to be determined but not less than twice the amount of its compensatory damages;

               D.      With respect to the Fourth Claim for Relief, judgment against KPMG and

in favor of the Litigation Trustee in an amount to be determined but believed to be not less than

$3 million, together with interest, costs and attorneys' fees; and

               E.      Such other, further and different relief as this Court may deem just and

proper.




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                                     Jurv Trial Demand

              Plaintiff hereby demands   a   trial by jury, on all issues so triable, pursuant to Fed.

R. Bankr. P. 9015, and 5005 and Fed. R. Civ. P. Rules 38 and 39.


Dated: New York, New York
       December 20,2018
                                                       KAPLAN LANDAU PLLC


                                                        By:
                                                                     Landau
                                                                 Amanda Grannis

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                                                       152 West 57ft Street, 8th Floor
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                                                       (2r2) se3-1700

                                                       At t o r ney s for P I aint   iff
                                                        Vincent A. Sama, as Trustee of the
                                                        WW    LitigationTrust




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